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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO: 15-CV-22239-MARTINEZ

  KEVIN BYBEE, as Personal Representative
  of the Estate of Stephen Bybee,

         Plaintiff,
  -vs-

  OCEANIA CRUISES, INC., and
  ANDRZEJ ADAM GASZYNSKI, M.D.

  ______Defendants.                     /

                        STIPULATION FOR VOLUNTARY DISMISSAL

         COME NOW the PARTIES, by and through their undersigned attorneys and hereby

  stipulate to a Voluntary Dismissal of the above-captioned matter.

         THEREFORE, pursuant to Rule 41(a)(1)(A)(ii) of the FRCP and Rule 7.1 of the Local

  Rules, the undersigned parties hereby stipulate to a voluntary dismissal of this action without

  prejudice, each side to bear its own attorney’s fees and costs.

         DATED: September 4, 2015

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  By:_/s/ Andrew L. Waks_____                           By:_/s/ William F. Clair ____
     ANDREW L. WAKS                                        WILLIAM F. CLAIR
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